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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  The State of Texas, et al.,

                         Plaintiffs,
                                                     Case No. 4:20-cv-00957-SDJ
  v.
                                                     Hon. Sean D. Jordan
  Google LLC,

                         Defendants.



       PLAINTIFF STATES’ RESPONSE TO DEFENDANT GOOGLE’S OBJECTION TO
                   REPORT AND RECOMMENDATION (ECF NO. 423)




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                                         INTRODUCTION

         The Special Master’s Report and Recommendation, Dkt. 423, accurately applied the

 relevant Fifth Circuit law on the deposition of high-level corporate executives in allowing

 depositions of Sergey Brin and Sundar Pichai to proceed subject to significantly reduced time

 limits. Google’s objection, by contrast, elides the key facts and turns the applicable law on its head

 in a last-ditch effort to allow two key leaders of its monopolistic course of conduct to escape

 testimony. But Google cannot rewrite binding circuit law or the record in this case. Applying the

 correct legal test, the Report found that Plaintiff States met their burden to establish these

 depositions’ relevance, while Google failed to meet its burden to show that (1) the States can obtain

 the relevant discovery through less-intrusive means and (2) the executives lack unique personal

 knowledge relevant to the case. Google’s objection, Dkt. 440, does not disturb that conclusion and

 raises new arguments that that this Court has stated it will not consider (Dkt. 213 at 11) and that

 Google should have raised to the Special Master. Reaching further still, Google concludes by

 asking the Court to second-guess the Special Master’s procedural orders without even

 acknowledging the high bar for such a decision. None of Google’s arguments merits overturning

 the Special Master’s careful recommendation.

        First, Google runs from the record evidence establishing Mr. Brin’s and Mr. Pichai’s

 unique knowledge of the DoubleClick acquisition, the Network Bidding Agreement with

 Facebook (“Jedi Blue”), and the anticompetitive and monopolistic intent and effect of those

 decisions as key parts of Google’s 15-plus-year effort to illegally acquire and maintain a monopoly

 in digital advertising. Perhaps recognizing its weak factual argument, Google seeks to change the

 legal standard by suggesting (a) that depositions of high-level corporate executives may occur only

 in “extraordinary circumstances,” and (b) that the importance of the case, and the executives’

 testimony within it, is irrelevant to the legal test. Neither argument has any merit, and the Special
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 Master correctly saw through them.

        Second, Google invents an exhaustion requirement that the case law does not support.

 Google insists that the States must depose lower-level officials before deposing Mr. Brin and Mr.

 Pichai, even after the States have established (and Google has not met its burden to refute) that

 Mr. Brin and Mr. Pichai have unique personal knowledge relevant to the case. The case law

 imposes no such requirement. Instead, the cases are clear that Plaintiff States need not

 “wait . . . until after [other] deposition where [the States] have already shown that they unique

 testimony that they seek through [Mr. Brin and Mr. Pichai] cannot be obtained by any less

 burdensome or intrusive means of deposing lesser-ranking or other employees or officers.”

 Gaedeke Holdings VII, Ltd. V. Mills, No. 3:15-MC-36-D-BN, 2015 WL 3539658, at *4 (N.D. Tex.

 June 5, 2015). Google also asks the Court to credit new and unsupported claims that the States

 seek to “harass” Mr. Brin and Mr. Pichai by asking irrelevant questions.

        Third, Google challenges the briefing and argument procedures that the Special Master

 established for this dispute. See Dkt. 339 at 5 (setting a briefing and argument schedule). But,

 under the Federal Rules, this Court “may set aside [the Special Master’s] ruling on a procedural

 matter only for an abuse of discretion.” Fed. R. Civ. P. 53(f)(5). The Special Master acted well

 within his discretion in adopting these procedures and appropriately decided the issue based on the

 whole record and the parties’ arguments.

        Given the stakes of this litigation—a potential breakup of Google due to Google’s

 monopolization of multi-trillion-dollar markets and per-violation civil penalties for Google’s

 deceptive acts—it is both eminently proportional and entirely warranted for two of Google’s

 leaders to sit for a combined 6.5 hours of depositions regarding critical business decisions that they

 steered.



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                                    FACTUAL BACKGROUND

           Contrary to Google’s misdirection, the record demonstrates that both Mr. Brin and Mr.

 Pichai have unique, personal, highly relevant knowledge of pivotal turning points in Google’s

 illegal drive to ad tech dominance and monopolization.

      I.   Mr. Brin

           As Google’s founder and longtime president, Mr. Brin was part of a small group of the

 highest-level Google executives who played a direct role in Google’s strategy and negotiations for

 its acquisition of DoubleClick. In an email exchange about the acquisition with                        ,

              , and a small handful of other (mostly former) Google executives,

                                                                                        . See Dkt. 375-

 7 (GOOG-TEX-01068770). Further, as an integral decision-maker on all things related to Google’s

 ad tech business,1 Mr. Brin received presentations and materials on critical strategic issues related

 to this acquisition, including

                                           . See Dkt. 375-8 (GOOG-NE-01787563). Plaintiff States

 allege that the DoubleClick acquisition represented the “origins of Google’s display advertising

 monopolies,” Fourth Amended Complaint ¶ 19, and the illegal course of conduct that the States

 challenge, id. ¶¶ 245–46.

     II.   Mr. Pichai

           Mr. Pichai, Google’s current CEO, was also personally involved in Google’s competitive

 strategy regarding advertising technology—the same monopolistic strategy that led Google to


 1
  For example, the States previously cited a news article recounting a heated debate between Mr. Brin and
 Mr. Page over the direction of Google’s advertising business. See Dkt. 375 at 2 (citing Henry Blodget,
 Google’s Brin And Page Shouted At Each Other Over Google’s Decision To Become Evil (Target Ads)—
 Then Brin Caved, Business Insider (August 9, 2010), https://www.businessinsider.com/googles-brin-and-
 page-shouted-at-each-other-over-googles-decision-tobecome-evil-move-into-ad-targeting-then-brin-
 caved-2010-8).

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 acquire DoubleClick. Documents from 2007 and 2008 show that Mr. Pichai was personally

 involved in the DoubleClick acquisition, separate and apart from Mr. Brin’s involvement. See Dkt.

 375-4 (GOOG-TEX-01119275) (“                                          ”); Ex. Dkt. 375-3 (GOOG-

 DOJ-28505483) (stating that

                                  ). Mr. Pichai was also involved in high-level conversations

 regarding a Forbes article alleging that Google had “largely dismissed the existence of click fraud

 [on its advertising platform] while privately acknowledging the problem.” 2 See Dkt. 375-11

 (GOOG-DOJ-16948166) (showing

                                                          ); see also Dkt. 375-12 (GOOG-TEX-

 00380602) (another executive stating that

                                                                                            ).

        In addition, in 2008, Mr. Pichai wrote to a set of Google executives about a feature Google

 competitor Microsoft launched in its Internet Explorer browser that, per Mr. Pichai, “will clearly

 impact third party adservers like DoubleClick” (which Google had recently acquired). Dkt. 375-9

 (GOOG-DOJ-16537020). Mr. Pichai stated that he “met with Microsoft” regarding its new product

 feature, expressed “concern[]” with how Microsoft’s strategy could affect Google’s ad tech

 business, and said Google should “watch [Microsoft’s] actions here very closely.” Id. Mr. Pichai,

 who at the time worked on Google’s competitor web browser to Internet Explorer, Dkt. 440 at 2,

 was thus intimately involved in Google’s technological and competitive strategy regarding the

 interaction between internet browsers and Google’s growing ad tech stack, including DoubleClick.

        After becoming Google’s CEO in 2015, id., Mr. Pichai was also personally involved in the


 2
   See Dkt. 375 at 7 n.5 (citing Andy Greenberg, Click Fraud Goes Viral, Forbes (July 19, 2007),
 https://www.forbes.com/2007/07/19/click-fraud-rise-tech-
 internetcx_ag_0719techclick.html?sh=6ef4d9a13a61).

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 Network Bidding Agreement or Jedi Blue agreement with Facebook. Google’s documents show

 that

                                                               . See Dkt. 375-5 (GOOG-DOJ-AT-

 01901774) (“

                         ”); Dkt 375-6 (GOOG-AT-MDL-016678498) (“

                                                                               ”).

 III.   Mr. Mohan

        At the time of the DoubleClick acquisition, Mr. Mohan worked at DoubleClick, not at

 Google. Dkt.440 at 3. He joined Google after the acquisition as senior vice president of Google’s

 display ads business and, later, the CEO of Google subsidiary YouTube. Id. Mr. Mohan does not

 appear on the above-cited internal Google strategy communications with Mr. Brin regarding the

 DoubleClick acquisition, since he was an employee of the counterparty. Mr. Mohan also did not

 participate, as far as the record shows, in the 2008 meetings with Microsoft regarding ad tech that

 Mr. Pichai directed. Neither does Mr. Mohan appear in any of the communications discussed above

 regarding the Facebook Network Bidding Agreement or Jedi Blue.

                                PROCEDURAL BACKGROUND

        Plaintiff States served Rule 30(b)(1) notices on Mr. Brin and Mr. Pichai on March 19, 2024,

 with many weeks left before the close of fact discovery. See Dkt. 324 at 5.

        At a hearing on April 4, 2024, the Special Master ordered Google to file any motions for

 protective orders regarding those notices by April 9 and ordered the States to respond by April 12.

 Dkt. 339 at 5. On April 9, Google filed its motion for protective order. Dkt. 349; 349-1. On April

 10, the Special Master modified the briefing schedule upon the parties’ joint request. Dkt. 353.

 And on April 15, the States filed their response to Google’s motion, pursuant to the revised

 schedule. Dkt. 375.
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        On April 18, the Special Master held a hearing at which both parties presented their

 arguments to the Special Master in an extensive colloquy about these protective orders. See Ex. A,

 Apr. 18 Hr’g Tr. at 113:17-150:4.

        On April 25, the Special Master’s Report and Recommendation recommended the

 deposition of Mr. Brin for 2.5 hours and Mr. Pichai and Mr. Mohan for 4 hours. Dkt. 423. On April

 29, Google challenged the Special Master’s recommendation as to Mr. Brin and Mr. Pichai and

 did not challenge the recommendation as to Mr. Mohan. Dkt. 440.

                                           ARGUMENT

   I.   Google Fails to Establish That Mr. Brin and Mr. Pichai Lack Unique Knowledge That
        Cannot Be Less Intrusively Obtained, and Misrepresents Relevant Precedent.

        The Special Master correctly recited and applied the basic legal test that courts in the Fifth

 Circuit and this District apply when assessing motions for protective orders for high-level

 corporate executives. First, the party seeking the deposition has the burden to show that “their

 requested discovery is relevant.” Fam. One v. Isaacks, No. 9:22-CV-00028-MJT, 2023 WL

 4503537, at *5 (E.D. Tex. Apr. 25, 2023). The relevance inquiry is guided by Rule 26(b)(1) and

 the District’s Local Civil Rule 26(d). See Dkt. 423 at 2 (citing Fed. R. Civ. P. 26(b)(1); E.D. Tex.

 Rule CV-26(d)). Second, once the party seeking the deposition has met that relevance burden, the

 burden shifts to the party that has moved for a protective order to show (1) that the plaintiff “can

 obtain relevant discovery through less-intrusive means,” and (2) that the noticed witnesses do “not

 possess unique personal knowledge relevant to the case.” Isaaks, 2023 WL 4503537, at *7. After

 the Special Master’s order applying this framework, Google correctly conceded that this burden-

 shifting framework applies. See Dkt. 440 at *7.

        Google does not appear to contest the relevance of Mr. Brin’s and Mr. Pichai’s testimony.

 And, on the second step, Google falls far short of its burden to establish that (1) Mr. Brin’s and


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 Mr. Pichai’s relevant testimony can be gained through less-intrusive means and (2) the two

 executives lack unique knowledge.

        Google attempts, and fails, to meet its burden in three ways. First, Google argues that Mr.

 Brin’s and Mr. Pichai’s unique knowledge lacks support in the record. On Mr. Pichai, Google

 argues that he “was not an executive at Google until seven years after the [DoubleClick]

 acquisition” and “did not work in the ads organization.” But Plaintiff States have put forward

 record evidence showing Mr. Pichai’s (a) involvement in the DoubleClick acquisition, and (b)

 deep personal involvement in Google’s post-acquisition competition with Microsoft as it attempted

 to amass its ad tech monopoly through tools that included DoubleClick’s ad server. See Dkt. 375-

 3; 375-4; 345-9. Google does not refute that evidence or provide any other evidence to contradict

 it.

        And on Mr. Brin, Google argues that he lacked any “unique, relevant knowledge” because

 others, like Mr. Mohan, could testify about the DoubleClick deal and the company’s “intent.” Dkt.

 440 at 8. But Plaintiff States established that Mr. Brin was part of a very small group of executives

 that steered the DoubleClick deal—a group that, as Google concedes, did not include Mr. Mohan,

 because he did not work at Google at the time. Further, as the States previously argued and the

 Special Master credited, evidence of key executives’ anticompetitive intent is unlikely to be widely

 shared throughout the company. See Apr. 19 Tr. at 140:17-22; Dkt. 423 at 5. Google offers no

 record evidence—and no reason to think—that Mr. Mohan’s 30(b)(6) deposition could elicit the

 same relevant testimony that Plaintiff States have established with respect to Mr. Brin.

        Second, along similar lines, Google contends that the Special Master ignores the

 requirement that the high-level executives must have “firsthand and non-repetitive knowledge,’”

 not mere “involvement.” Dkt. 440 at 8 (quoting Computer Acceleration Corp. v. Microsoft Corp.,



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 2007 WL 7684605 (E.D. Tex. June 15, 2007)). To the contrary, the States have established and

 the Special Master agreed that Mr. Brin’s and Mr. Pichai’s knowledge of the DoubleClick

 acquisition and Google’s subsequent monopolistic course of conduct was indeed both firsthand

 and non-repetitive. Mr. Brin, and only Mr. Brin, has firsthand knowledge of why



                                                                              . See Dkt. 423 at 7.

 Corporate representatives such as Mr.         and Mr. Mohan, Google’s 30(b)(6) witnesses, would

 not. Similarly, the record demonstrates that Mr. Pichai has firsthand knowledge of topics such as

 (i) the DoubleClick technology’s importance to Google’s ad tech business and (ii) relationships

 with critical marketplace players Microsoft and Facebook. See Dkt. 423 at 9. Thus, unlike the high-

 level executives in Computer Acceleration and Greco v. Nat’l Football League, 2015 WL

 13935035 (N.D. Tex. Feb. 5, 2015), both Mr. Pichai and Mr. Brin have “unique, firsthand relevant

 knowledge that is unobtainable from another source.” Greco, 2015 WL 13935035, at *3. Google

 offers no evidence to the contrary and no other deponent that would share Mr. Brin’s and Mr.

 Pichai’s unique and highly relevant knowledge.

        For those reasons, Google’s comparisons to other cases involving depositions of Mr. Brin

 and Mr. Pichai are inapposite (and were not previously argued or cited to the Special Master). In

 PA Advisors, LLC v. Google, Inc., the plaintiff’s best evidence of Mr. Brin’s unique knowledge

 was that he was the recipient (along with thousands of others) of a single email to which he did

 not reply. 2009 WL 10741630, at *1-2 (E.D. Tex. Aug. 28, 2009). In addition, Mr. Brin had

 submitted a declaration stating that he had “no unique information about this case.” Id. at *1. The

 evidence here shows Mr. Brin personally communicating relevant information, not merely

 receiving information along with thousands of others. In Brown v. Google, LLC, the Court denied



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 a deposition of Mr. Pichai because the magistrate judge had not even considered whether Pichai

 had “unique or superior personal knowledge” and there was insufficient evidence in the record to

 evaluate that question. 2022 WL 2289059, at *2 (N.D. Cal. Apr. 4, 2022). Here, by contrast, the

 Special Master applied the correct legal test and found that “Mr. Pichai as CEO possesses ample,

 current, relevant and unique knowledge” with respect to several key aspects of the case. Dkt. 423

 at 9.

         Google’s reliance on Celorio v. Google fails for the same reason. In that case, the plaintiff

 alleged only that Mr. Brin (along with Mr. Page and Mr. Schmidt) merely received a letter that

 was of “marginal importance” and “ha[d] at best marginal relevance.” 2012 WL 12861605, at *2

 (N.D. Fla. Nov. 19, 2012). In addition, all three executives had filed affidavits averring that they

 had “no memory or recollection of receiving” the letter and no knowledge of the response. Id.

 Finally, the Court found that any relevant information that those three executives might have could

 be obtained from depositions of “lower-level employees with more direct knowledge of the facts.”

 Id. Those facts are a far cry from the instant case. Here, Plaintiff States have pointed not just to

 Mr. Brin and Mr. Pichai’s receipt of communications, but their sending of communications,

 attendance at meetings, and direction of key strategic decision-making. See, e.g., Dkt. 375 at 2-3.

 And neither has disclaimed relevant, unique knowledge. Given those distinctions, the Special

 Master did not err in denying Google’s motion.

         As all those cases make clear, the States’ argument and the Special Master’s

 recommendation would not require a top executive to “sit for deposition in every case, regardless

 of burden,” as Google claims. Dkt. 440 at 8. Instead, the Special Master correctly and carefully

 parsed the record to determine that Mr. Brin and Mr. Pichai had unique, personal knowledge here

 that they apparently did not have in other suits.



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        Third, Google argues that the Special Master inappropriately considered the “importance”

 of the case in assessing Mr. Brin’s and Mr. Pichai’s unique knowledge. Dkt. 440 at 10-11. The

 Special Master did no such thing. As the Recommendation and Report makes abundantly clear,

 the Special Master considered the “importance” of the case only in the Rule 26 relevance and

 proportionality inquiry, the first step in the two-part burden-shifting framework that Google

 acknowledged applies. See Dkt. 423 at 2, 5. That inquiry requires considering issues such as the

 “importance of the issues at stake in the action” and “the amount in controversy.” Id. at 2 (citing

 Fed. R. Civ. P. 26(b)(1). When the Special Master discussed “importance” in the second step, it

 was in reference to the importance of Mr. Brin’s and Mr. Pichai’s particular testimony to the issues,

 not the importance or dollar value of the case. See id. at 7-8.

        Google also attempts to argue that the Special Master erred in emphasizing the subject

 matter of Computer Acceleration and U.S. v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001). Dkt. 440 at

 11 (citing Dkt. 423 at 6). But the Special Master did not find that Computer Acceleration was

 distinguishable because it was a patent case. Rather, the Special Master accurately summarized the

 reason that Bill Gates’s deposition in that case was not proportional under Rule 26(b) due to the

 high burden relative to the limited relevance of the “discrete technical issue” about which Mr.

 Gates had knowledge. Dkt. 423 at 6; see Computer Acceleration, 2007 WL 7684605, at *1 (E.D.

 Tex. June 15, 2007)). Accordingly, the Special Master compared the limited relevance of that

 testimony to Mr. Gates’s critical role in the U.S. v. Microsoft antitrust litigation, which centered

 on high-level decisions by Microsoft to illegally dominate markets through an anticompetitive

 course of conduct and put on the table a break-up of the company. Clearly, with respect to both

 relevance and unique knowledge of the top executive, the instant case is far more similar to U.S.




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 v. Microsoft than Computer Acceleration.3

           To top off Google’s mistaken arguments, Google suggests that deposing a high-level

 executive requires a showing of “extraordinary circumstances.” Dkt. 440 at 7 (quoting In re

 Paxton, 60 F.4th 252, 258 (5th Cir. 2023)). Quite the opposite. In re Paxton involved the deposition

 of high-level state officials, not corporate executives, as Google concedes. And while Google

 insists that “[c]ourts often apply these same principles to quash depositions of executives of

 corporations like Google,” Dkt. 440 at 7, the cases Google cites do not impose an “extraordinary

 circumstances” requirement. Instead, those cases are consistent with, and specifically invoke, the

 Fifth Circuit’s instruction that a protective order denying the deposition of high-level corporate

 executives is what requires “extraordinary circumstances.” Salter v. Upjohn Co., 593 F.2d 648,

 651 (5th Cir. 1979).4 That Google felt the need to misquote and misconstrue the case law only

 highlights the reality that the Special Master applied the correct legal standard to the facts in

 denying Google’s protective order.

     II.   Google Invokes a Non-Existent Exhaustion Requirement.

           Google next invents a requirement that Plaintiffs must “first exhaust less-intrusive means



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   Google’s other objections to the Special Master’s discussion of U.S. v. Microsoft are equally off-base.
 Google states that Plaintiff States do not sufficiently allege “independent conduct” of the target high-level
 executives in their Complaint, whereas the Microsoft plaintiffs did with respect to Mr. Gates. Dkt. 440 at
 11-12. First, the States do allege conduct on the part of Mr. Pichai. But even if they did not, it would not
 matter, because the Court at this stage is not confined to the Complaint and can review the whole record.
 See Rule 53(f)(1). And the record evidence of Mr. Brin and Mr. Pichai’s unique, personal knowledge is
 clear. Further, the fact that Microsoft agreed to put Mr. Gates up for a deposition in Microsoft, as Google
 points out, only reinforces how unreasonable and unsupported Google’s position is here. Mr. Gates testified
 when a breakup of his company due to a course of anticompetitive and monopolistic conduct was at stake;
 Mr. Brin and Mr. Pichai must do the same here.
 4
  See, e.g., Affinity Labs of Texas v. Apple, Inc., 2011 WL 1753982, at *15 (N.D. Cal. May 9, 2011) (noting,
 “[a]bsent extraordinary circumstances, it is very unusual for a court to prohibit the taking of a deposition,”
 and applying the Salter standard that the Special Master correctly applied here) (emphasis added); Celerity,
 Inc. v. Ultra Clean Holding, Inc., 2007 WL 205067, at *3 (N.D. Cal. Jan. 25, 2007) (quoting Salter for the
 same proposition).

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 before subjecting any high-ranking executive to a deposition.” Dkt. 440 at 12. Google attributes

 this supposed requirement to Salter. Yet, as Plaintiff States previously pointed out, Salter at most

 requires that lower-ranking employees be deposed first if those employees have “more knowledge

 of the facts” than the high-ranking executive. Salter, 593 F.2d at 651. By contrast, courts have

 made clear that there is “no need or good basis for requiring [plaintiffs] to wait . . . until after

 [other] deposition where [the plaintiffs] have already shown that the unique testimony that they

 seek through [the high-ranking executives] cannot be obtained by any less burdensome or intrusive

 means of deposing lesser-ranking or other employees or officers.” Gaedeke, 2015 WL 3539658,

 at *4.

          The cases Google cites are all consistent with that rule. As discussed above, the Court in

 PA Advisors found that Mr. Brin had no unique knowledge—or even “any relevant information”—

 and thus that other, less-invasive sources of discovery would be much more likely to produce

 relevant information. 2009 WL 10741630, at *3. Here, Plaintiff States have pointed to significant

 evidence of Mr. Brin’s unique, highly relevant knowledge. In Gauthier v. Union Pacific R. Co, the

 Court ordered a deposition of lower-level employees first because the plaintiffs there “ha[d] not

 shown that [a 30(b)(6) deposition of a corporate representative] would not supply the sought

 information.” 2008 WL 2467016, at *4 (E.D. Tex. June 18, 2008). Here, the States have

 established exactly that, pointing to Mr. Brin’s and Mr. Pichai’s personal knowledge of high-level

 corporate strategy and intent that a corporate representative would not be able to provide. 5

 Similarly, the Court in Robinson v. Nexion Health at Terrell, Inc., applied the same rule, rooted in


 5
   Google insists, again, that a 30(b)(6) deposition of Mr. Mohan would “provide some or all of what [the
 States] purport to need” with respect to the DoubleClick acquisition. Dkt. 440 at 13. The States have
 previously explained why—given Mr. Mohan’s position at the time of the acquisition and leading up to it
 (working for DoubleClick, not Google, at the time), as well as Mr. Brin’s and Mr. Pichai’s unique personal
 involvement for Google in aspects of that acquisition—Mr. Mohan’s deposition, whether individual or
 corporate, could not provide the critical information that Plaintiff States seek.

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 Salter, that a plaintiff should first depose a lower-ranking employee “[u]nless the executive possess

 ‘unique personal knowledge’ about the controversy.’” 2014 WL 12915533, at *2 (N.D. Tex. Apr.

 16, 2014) (quoting Computer Acceleration, 2007 WL 7684605) (emphasis added). The supposed

 exhaustion requirement is not an additional barrier to deposing high-level executives; it is merely

 the flip side of the requirement that the high-level executive possess “unique, personal

 knowledge”—a showing that Google has failed to refute here. 6 Despite Google’s protestations,

 Plaintiff States have well established that Mr. Mohan would not have knowledge of the key

 decisions and intent that the States seek from Mr. Brin and Mr. Pichai, and Google has offered no

 evidence to the contrary.7

         Finally, Google suggests (for the first time in this objection) that Plaintiff States want to

 depose Mr. Brin and Mr. Pichai in order to “ask harassing, unbounded questions on irrelevant

 matters.” Dkt. 440 at 14. Besides offering no evidence for this accusation, Google also ignores the

 fact that the Special Master effectively rejected such an argument by finding that Plaintiff States

 had surmounted their burden under Rule 26 while Google failed to meet its own. See Dkt. 423 at

 2 (“Rule 26(b) “has never been a license to engage in an unwieldy, burdensome, and speculative

 fishing expedition.”) (quoting Crosby v. La. Health Serv. & Indem. Co., 647 F.3d 258, 264 (5th

 Cir. 2011)); id. (“Under Federal Rule of Civil Procedure 26(c), a ‘court may, for good cause, issue

 an order to protect a party or person from annoyance, embarrassment, oppression, or undue burden




 6
   Google’s last case, ZeniMax Media, Inc. v Oculus VR, LLC, also does not support Google’s argument that
 courts will require exhaustion before allowing a high-level executive to be deposed. In that case, the Court
 permitted the deposition of Mr. Zuckerberg due to his “unique knowledge” and did not require the plaintiffs
 to first depose lower-level employees before coming back to the Court for leave to depose the high-level
 executive, as Google asks the Court to do here. 2015 WL 13949662, at *2 (N.D. Tex. Dec. 7, 2015).
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   Despite the lack of an exhaustion requirement, the States have nonetheless been deposing lower-level
 Google employees, many of whom have deferred to Mr. Pichai as the person with more knowledge on
 relevant issues (for example,                   and            ).

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 or expense.’”). Google merely repeats the legal standard without any evidence or argument. Such

 conclusory briefing cannot possibly satisfy Google’s steep burden for a protective order.

        Similarly, Google offers no argument for why Mr. Brin and Mr. Pichai should be deposed

 for shorter than the abbreviated, reasonable time limits that the Special Master recommended.

 Google points to another case limiting the testimony of Mr. Page to three hours. Dkt 440 at 14

 (citing Google Inc. v. Am. Blind & Wallpaper Factory, Inc., 2006 WL 2578277, at *3 (N.D. Cal.

 Sept. 6, 2006), objections overruled, 2006 WL 3050866 (N.D. Cal. Oct. 23, 2006)). That is

 comparable to the 2.5-hour and four-hour depositions recommended here.

 III.   Google’s Objections to the Special Master’s Procedures Are Baseless.

        Google’s final, equally meritless argument is that the Special Master’s “briefing

 procedures” did not permit Google to respond to the States’ arguments. Dkt. 440 at 14. Google’s

 argument has at least three fatal flaws.

        First, the States’ arguments at the April 18 hearing merely restated and elaborated upon

 arguments Plaintiff States made in their response to Google’s protective order. See, e.g., Dkt. 375

 at 2 (discussing that the DoubleClick acquisition, about which the States sought Mr. Brin and Mr.

 Pichai’s testimony, “furthered the monopolies and monopolization at the heart of this case”); id.

 at 4 (discussing Mr. Brin and Mr. Pichai’s “personal, relevant, and unique knowledge regarding

 the DoubleClick acquisition”). Second, the Special Master, like this Court, may consider any

 evidence or arguments “presented to the Special Master,” including arguments at a hearing. Dkt.

 213 at 11. And finally, the Special Master’s briefing schedule on this matter was a procedural order

 that this Court may review only for abuse of discretion. Fed. R. Civ. P. 53(f)(5); see Dkt. 213 at

 11 (“The standard of review the Court will apply to any motion for review shall be governed by

 Rule 53(f).”). The Special Master acted well within his discretion in ordering the briefing schedule

 that he set here, and Google does not even attempt to argue otherwise.
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                                       CONCLUSION

        For the foregoing reasons, the Court should deny Google’s motion and adopt the Special

 Master’s recommendations as to Mr. Brin’s and Mr. Pichai’s depositions.




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                        CERTIFICATE OF SERVICE AND SEALING

        I certify that, on April 30, 2024, this document was filed electronically in compliance with

 Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

 Rule CV-5(a)(3)(A).

        I also certify that, on April 30, 2024, a motion to seal the foregoing document and its

 exhibits was filed separately and before the filing of this document under seal, per Local Rule CV-

 5(a)(7)(B). This sealed filing will be promptly served by email with a secure link on counsel of

 record for all parties in this case, and will be publicly filed in redacted form per Local Rule CV-

 5(a)(7)(E).

                                                   /s/ Geraldine Young
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